        Case 3:08-cv-01169-YY         Document 300       Filed 03/02/18     Page 1 of 22




                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION



HEREDITARY CHIEF WILBUR
SLOCKISH, et al,

                   Plaintiffs,                                 Case No. 3:08-cv-01169-YY

       v.                                                      FINDINGS AND
                                                               RECOMMENDATIONS
UNITED STATES FEDERAL HIGHWAY
ADMINISTRATION, et al,

                   Defendants.


YOU, Magistrate Judge:

       Before the court are cross motions for summary judgment (ECF ##287, 294) regarding

the Thirteenth Claim in the Fourth Amended Complaint, in which plaintiffs allege that the

Federal Highway Administration (“FHWA”), Bureau of Land Management (“BLM”), and

Advisory Council on Historic Preservation (collectively the “Federal Defendants”) have

interfered with their free exercise of religion in violation of the Religious Freedom Restoration

Act (“RFRA”), 42 U.S.C.A. §§ 2000bb–2000bb-4. For the reasons discussed below, federal

defendants’ motion for summary judgment against the Thirteenth Claim (ECF #287) should be

GRANTED, plaintiff’s motion for summary judgment (ECF #294) should be DENIED, and

plaintiff’s Thirteenth Claim should be DISMISSED.



1 – FINDINGS AND RECOMMENDATIONS
        Case 3:08-cv-01169-YY          Document 300       Filed 03/02/18      Page 2 of 22




                                      LEGAL STANDARD

       Under FRCP 56(a), “[t]he court shall grant summary judgment if the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” The party moving for summary judgment bears the initial responsibility of

informing the court of the basis for the motion and identifying portions of the pleadings,

depositions, answers to interrogatories, admissions, or affidavits that demonstrate the absence of

a triable issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the

moving party does so, the nonmoving party must “go beyond the pleadings” and “designate

‘specific facts showing that there is a genuine issue for trial.’” Id. at 324 (citing FRCP 56(e)).

       In determining what facts are material, the court considers the underlying substantive law

regarding the claims. Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986). Otherwise stated,

only disputes over facts that might affect the outcome of the suit preclude the entry of summary

judgment. Id. A dispute about a material fact is genuine if there is sufficient evidence for a

reasonable jury to return a verdict for the non-moving party. Id. at 248-49. A “scintilla of

evidence” or “evidence that is merely colorable or not significantly probative” is insufficient to

create a genuine issue of material fact. Addisu v. Fred Meyer, Inc., 198 F.3d 1130, 1134 (9th

Cir. 2000). The court “does not weigh the evidence or determine the truth of the matter, but only

determines whether there is a genuine issue for trial.” Balint v. Carson City, Nev., 180 F.3d

1047, 1054 (9th Cir. 1999). “Reasonable doubts as to the existence of material factual issue are

resolved against the moving parties and inferences are drawn in the light most favorable to the

non-moving party.” Addisu, 198 F.3d at 1134.

///

///




2 – FINDINGS AND RECOMMENDATIONS
        Case 3:08-cv-01169-YY            Document 300        Filed 03/02/18       Page 3 of 22




                                              FINDINGS

        Federal defendants assert that plaintiffs’ Thirteenth Claim must be dismissed because

they have failed to establish a prima facie case under the RFRA that their right to exercise

religion has been substantially burdened. They further contend that plaintiffs lack standing and

that this claim is barred by laches. Plaintiffs counter that this court has already ruled in its favor

and that its rulings are law of the case. They otherwise contend that they have established a

prima facie case that their right to exercise religion has been substantially burdened. For the

reasons discussed below, this court should find that plaintiffs have failed to establish a prima

facie case and decline to exercise its discretion in applying the doctrine of law of the case to its

prior rulings.

I.      Plaintiffs have failed to establish a prima facie case under the RFRA.

        A.       The RFRA

        The RFRA provides in relevant part:

        (a) In general
                Government shall not substantially burden a person’s exercise of religion
        even if the burden results from a rule of general applicability, except as provided
        in subsection (b) of this section.

        (b) Exception
                 Government may substantially burden a person’s exercise of religion only
        if it demonstrates that application of the burden to the person—
                 (1) is in furtherance of a compelling governmental interest; and
                 (2) is the least restrictive means of furthering that compelling
        governmental interest.

42 U.S.C.A. § 2000bb–1.

        To establish a prima facie case under the RFRA, “a plaintiff must present evidence

sufficient to allow a trier of fact rationally to find” (1) the activities the plaintiff claims are

burdened are an “exercise of religion,” and (2) the government action “substantially burdens” the




3 – FINDINGS AND RECOMMENDATIONS
         Case 3:08-cv-01169-YY         Document 300        Filed 03/02/18      Page 4 of 22




plaintiff's exercise of religion. Navajo Nation v. U.S. Forest Serv., 535 F.3d 1058, 1068 (9th Cir.

2008). If the plaintiff establishes a prima facie case, the burden shifts to the government to

prove that the challenged government action is in furtherance of a “compelling governmental

interest” and is implemented by “the least restrictive means.” Id.

        The RFRA was enacted by Congress in response to the Supreme Court’s holding in

Emp’t Div. v. Smith, 494 U.S. 872 (1990). The RFRA notes that “in [Smith] the Supreme Court

virtually eliminated the requirement that the government justify burdens on religious exercise

imposed by laws neutral toward religion.” 42 U.S.C.A. § 2000bb(a)(4). The RFRA recognizes,

however, that “the compelling interest test as set forth in prior Federal court rulings is a workable

test for striking sensible balances between religious liberty and competing prior governmental

interests.” 42 U.S.C.A. § 2000bb(a)(5). Thus, the purposes of the RFRA, as expressly stated in

the statute, are:

               (1) to restore the compelling interest test as set forth in Sherbert v. Verner,
        374 U.S. 398 (1963) and Wisconsin v. Yoder, 406 U.S. 205 (1972) and to
        guarantee its application in all cases where free exercise of religion is
        substantially burdened; and
               (2) to provide a claim or defense to persons whose religious exercise is
        substantially burdened by government.

42 U.S.C.A. § 2000bb(b).

        B.      Analysis

        In their RFRA claim, plaintiffs assert that federal defendants have substantially burdened

and interfered with their right to exercise religion by “damaging and destroying a historic

campground and burial grounds through tree cutting and removal, grading, and ultimately

burying the campground and burial grounds,” and “by blocking off access to these by installation

of a new guardrail.” Fourth Am. Compl. ¶ 95, ECF #223. This sacred site is traditionally known




4 – FINDINGS AND RECOMMENDATIONS
        Case 3:08-cv-01169-YY          Document 300       Filed 03/02/18      Page 5 of 22




to plaintiffs’ tribes as Ana Kwna Nchi nchi Patat (the “Place of Big Big Trees”),1 and is located

within the A.J. Dwyer Memorial Scenic Area, an approximately eight-acre parcel managed by

the BLM and located on the north side of U.S. 26 between the villages of Wildwood and

Wemme. Def. Mot. Partial Summ. J. 3, ECF #287; Pl. Resp. 5, ECF #292. These actions were

taken as part of the widening of U.S. 26 in response to community outcry over vehicular

accidents, including at least one fatality, caused by the lack of a left-turn lane.2 However, as

discussed in detail below, plaintiffs’ claim fails because they cannot show that their right to

exercise religion has been “substantially burdened.”3

       Plaintiffs’ claim is foreclosed by the Ninth Circuit’s decision in Navajo Nation. In

Navajo Nation, the site at issue was the Skibowl recreational area located on federally owned

public land in Northern Arizona. The plaintiffs objected to the application of artificial snow,

1
  This site is sacred and holds spiritual importance to plaintiffs for numerous reasons, including
that it is a burial ground along an ancient trading route. See Pl. Resp. 5-6, ECF #292. The site
contained an altar of rocks that marked surrounding graves and was a focal point for religious
ceremonies. Id. at 7. As plaintiff Chief Johnny Jackson described it, “[T]hat trail was . . . where
our people passed on that could not make it home. And they were put away there because they
had no way to bring them back to where they came from.” Dep. Chief Johnny Jackson (“Jackson
Dep.”) 15:20-23, ECF #287-2, at 5. The rocks, which had been used for trade, came from
different parts of the state, and “when they put these people in the ground,” the rocks were left
“as a marker for them.” Id. 53:5-15, ECF #287-2, at 14. During highway construction, Chief
Jackson and others watched the “highway department” remove the rocks and “throw[] them in a
truck.” Id. at 45:19-21, ECF #287-2, at 12.
2
  In 1999, 600 petitioners asked the Oregon Department of Transportation to address safety
issues along this section of U.S. 26 due to a high number of accidents, including fatalities. ECF
#292-42, at 24. Fourteen accidents occurred between 2000 and 2004, including one fatality.
ECF #292-36, at 119. Numerous driveways and streets access U.S. 26 in this section. Id.
“Motorists making left turns from the highway [were] frequently required to stop in the fast lane
to wait for a gap in oncoming traffic while those turning left onto the highway [had] no median
refuge to enter.” Id.
3
 Federal defendants do not appear to contest that the activities plaintiffs claim are burdened are
an “exercise of religion” under the first prong of the RFRA analysis. Thus, these Findings and
Recommendations focus on the question of whether plaintiffs’ exercise of religion has been
“substantially burdened.”


5 – FINDINGS AND RECOMMENDATIONS
        Case 3:08-cv-01169-YY          Document 300         Filed 03/02/18     Page 6 of 22




made from recycled wastewater containing trace amounts of human waste, on mountain peaks

they believe are a living entity and sacred to their religion. They claimed that the artificial snow

desecrated the entire mountain and deprecated their religious ceremonies, thereby imposing a

substantial burden on their free exercise of religion under the RFRA. 535 F.3d at 1063.

       The Ninth Circuit, sitting en banc, rejected this argument. The court first recognized that

the RFRA’s “stated purpose” is to “restore the compelling interest test as set forth in Sherbert . . .

and . . . Yoder” as “a workable test for striking sensible balances between religious liberty and

competing prior governmental interests.” Id. at 1068-69. In Sherbert, the plaintiff, a Seventh-

day Adventist, was fired by her South Carolina employer because she refused to work on

Saturdays, as it was a day of rest according to her faith. The Supreme Court held that the

plaintiff was unconstitutionally forced “to choose between following the precepts of her religion

and forfeiting benefits, on the one hand, and abandoning one of the precepts of her religion in

order to accept work, on the other hand.” 374 U.S. at 404; see also Ruiz-Diaz v. United States,

703 F.3d 483, 486 (9th Cir. 2012) (describing the situation in Sherbert “as an example of a

forced choice that Congress intended to prevent by passing RFRA”). In Yoder, the defendants,

who were Amish, were convicted of violating a state law that required their children to attend

school until they turned sixteen. The Supreme Court reversed their convictions, holding the

Wisconsin law “affirmatively compel[led the defendants], under threat of criminal sanction, to

perform acts undeniably at odds with fundamental tenets of their religious beliefs.” 406 U.S. at

218.

       The Ninth Circuit went on to hold that “a government action that decreases the

spirituality, the fervor, or the satisfaction with which a believer practices his religion is not what

Congress has labeled a ‘substantial burden’—a term of art chosen by Congress to be defined by




6 – FINDINGS AND RECOMMENDATIONS
        Case 3:08-cv-01169-YY          Document 300        Filed 03/02/18      Page 7 of 22




reference to Supreme Court precedent—on the free exercise of religion.” Navajo Nation, 535

F.3d at 1063. “Where . . . there is no showing the government has coerced the Plaintiffs to act

contrary to their religious beliefs under the threat of sanctions, or conditioned a governmental

benefit upon conduct that would violate the Plaintiffs’ religious beliefs, there is no ‘substantial

burden’ on the exercise of their religion.” Id. “The presence of recycled wastewater on the

Peaks does not coerce the Plaintiffs to act contrary to their religious beliefs under the threat of

sanctions, nor does it condition a governmental benefit upon conduct that would violate their

religious beliefs, as required to establish a ‘substantial burden’ on religious exercise under

RFRA.” Id. at 1067.

       The Ninth Circuit further explained why no other result is feasible:

               Were it otherwise, any action the federal government were to take,
       including action on its own land, would be subject to the personalized oversight of
       millions of citizens. Each citizen would hold an individual veto to prohibit the
       government action solely because it offends his religious beliefs, sensibilities, or
       tastes, or fails to satisfy his religious desires. Further, giving one religious sect
       a veto over the use of public park land would deprive others of the right to use
       what is, by definition, land that belongs to everyone.
               “[W]e are a cosmopolitan nation made up of people of almost every
       conceivable religious preference.” Braunfeld v. Brown, 366 U.S. 599, 606, 81 S.
       Ct. 1144, 6 L.Ed.2d 563 (1961). Our nation recognizes and protects the
       expression of a great range of religious beliefs. Nevertheless, respecting religious
       credos is one thing; requiring the government to change its conduct to avoid any
       perceived slight to them is quite another. No matter how much we might wish the
       government to conform its conduct to our religious preferences, act in ways that
       do not offend our religious sensibilities, and take no action that decreases our
       spiritual fulfillment, no government—let alone a government that presides over a
       nation with as many religions as the United States of America—could function
       were it required to do so. Lyng v. Nw. Indian Cemetery Protective Ass’n, 485 U.S.
       439, 452, 108 S. Ct. 1319, 99 L.Ed.2d 534 (1988).

Id. at 1063-64 (emphasis added).

       The Ninth Circuit reaffirmed its ruling in Snoqualmie Indian Tribe v. Fed. Energy

Regulatory Comm’n, 545 F.3d 1207 (9th Cir. 2008). There, the plaintiff objected to the




7 – FINDINGS AND RECOMMENDATIONS
        Case 3:08-cv-01169-YY          Document 300        Filed 03/02/18      Page 8 of 22




relicensing of a hydroelectric power plant at Snoqualmie Falls near Seattle on grounds that it was

a sacred site, specifically a place “to gather to pray, to meditate, to worship, and to renew their

contact with their ancestors and their spiritual powers.” Id. at 1211. Applying Navajo Nation,

the court held that, after a searching review of the voluminous record, it found no “evidence

demonstrating that Snoqualmie Tribe members will lose a government benefit or face criminal or

civil sanctions for practicing their religion.” Id. at 1214. “The Tribe’s arguments that the dam

interferes with the ability of tribal members to practice religion are irrelevant to whether the

hydroelectric project either forces them to choose between practicing their religion and receiving

a government benefit or coerces them into a Catch–22 situation: exercise of their religion under

fear of civil or criminal sanction. ” Id. Therefore, the relicensing did not “impose a substantial

burden under RFRA on the tribal members’ ability to exercise their religion.” Id. at 1214-15.

       Other cases from the Ninth Circuit have followed suit. In La Cuna de Aztlan Sacred Sites

Prot. Circle Advisory Comm. v. U.S. Dep’t of the Interior (“La Cuna II”), No. CV 11-00400

DMG, 2013 WL 4500572 (C.D. Cal. Aug. 16, 2013), the plaintiffs objected that they were

unable to access certain portions of the Salt Song Trails, located on government land in Nevada,

because of an eight-foot barbed wire fence that surrounded a site under construction for a solar

power plant. They claimed that the Salt Song Trails have significant historical, cultural, and

religious value to several Indian Tribes and that they would be subjected to criminal trespass

violations if they entered the property. The court rejected that argument, holding that denial of

access to land alone is insufficient to establish a RFRA claim:

       Under Navajo Nation, . . . denial of access to land, without a showing of
       coercion to act contrary to religious belief, does not give rise to a RFRA claim,
       regardless of how that denial of access is accomplished. . . . Though Native
       Americans may have some rights to use sacred sites, “those rights do not divest
       the Government of its right to use what is, after all, its land.” . . . Thus, sad as it
       may be that access to some parts of the Salt Song Trails will be impaired,



8 – FINDINGS AND RECOMMENDATIONS
        Case 3:08-cv-01169-YY          Document 300         Filed 03/02/18     Page 9 of 22




       Plaintiffs face no civil or criminal sanction for practicing their religion—the
       choice to use those parts of the Salt Song Trails is simply not available to them.

Id. at *9 (quoting Lyng, 485 U.S. at 453) (emphasis added).

       Similarly, in S. Fork Band v. U.S. Dep’t of Interior, 643 F. Supp. 2d 1192 (D. Nev.), aff’d

in part, rev’d in part sub nom. S. Fork Band Council of W. Shoshone of Nevada v. U.S. Dep’t of

Interior, 588 F.3d 718 (9th Cir. 2009), tribes brought a RFRA claim challenging BLM’s decision

to approve a mining project on public land, including Mt. Tenabo, which they claimed was a

sacred site. After noting that “demonstrating a substantial burden on the exercise of their

religion is high,” the court found that the plaintiffs had failed to establish a prima facie case

because there was no evidence that BLM’s approval of the project (1) forced them to choose

between following their religion and receiving a government benefit or (2) coerced them into

violating their religious beliefs by threat of civil or criminal sanctions. Id. at 1208.

       At least one other court in the country has reached the same result. In Standing Rock

Sioux Tribe v. U.S. Army Corps of Eng’rs., 239 F.Supp.3d 77 (D.C.C. 2017), the plaintiffs sought

to block construction of an oil pipeline under the waters of Lake Oahe on grounds that the “mere

existence” of the pipeline would “desecrate those waters and render them unsuitable for use in

their religious sacraments.” Id. at 82. The court denied injunctive relief, finding the

government’s actions did not create a “substantial burden” because it did not “impose a sanction

on the Tribe’s members for exercising their religious beliefs, [or] . . . pressure them to choose

between religious exercise and the receipt of government benefits.” Id. at 91. The court rejected

the plaintiffs’ claim that their inability to perform required religious sacraments at the lake

constituted a “substantial burden.” Id. The court observed that such an argument was “directly

at odds with Supreme Court precedent,” specifically Lyng v. Nw. Indian Cemetery Protective

Ass’n, 485 U.S. 439 (1988). Id.



9 – FINDINGS AND RECOMMENDATIONS
       Case 3:08-cv-01169-YY          Document 300        Filed 03/02/18      Page 10 of 22




       In Lyng, the plaintiffs challenged the U.S. Forest Service’s decision to build a six-mile

paved road and permit timber foresting on government-owned land that was considered sacred to

several tribes. 485 U.S. at 442. The plaintiffs claimed that the proposed road would “physically

destro[y] the environmental conditions and the privacy without which the [religious] practices

cannot be conducted.” Id. at 449 (emphasis added). The Supreme Court acknowledged that the

government’s actions “would interfere significantly with private persons’ ability to pursue

spiritual fulfillment according to their own religious beliefs” and “could have devastating effects

on traditional Indian religious practices.” Id. at 449, 451. Nevertheless, the court found no First

Amendment violation because the affected individuals would not be “coerced by the

Government’s action into violating their religious beliefs” or “penalize religious activity by

denying any person an equal share of the rights, benefits, and privileges enjoyed by other

citizens.” Id. at 449.

       Applying these cases, in particular Lyng and Navajo Nation, which are controlling

Supreme Court and Ninth Circuit precedent, this court must similarly conclude that plaintiffs

have failed to establish a prima facie case that their right to exercise religion has been

substantially burdened. As in Lyng and Navajo Nation, plaintiffs contend that the sacred site at

issue, which is located on federal land, has been desecrated and destroyed. Yet, as in those

cases, plaintiffs have not established that they are being coerced to act contrary to their religious

beliefs under the threat of sanctions or that a governmental benefit is being conditioned upon

conduct that would violate their religious beliefs. Without these critical elements, plaintiffs

cannot establish a substantial burden under the RFRA.

       Plaintiffs contend that their case is distinguishable because it involves the actual

destruction of their religious site. Plaintiffs argue that while Sherbert and Yoder involved




10 – FINDINGS AND RECOMMENDATIONS
       Case 3:08-cv-01169-YY           Document 300        Filed 03/02/18     Page 11 of 22




“indirect” burdens on religious exercise, their case involves a “direct” burden on their religious

beliefs because the site has been destroyed and thus they have been effectively “barred” from

entering it. Pl. Resp. 33-34, ECF #292.

       This argument is foreclosed by Lyng. There the Supreme Court held that even assuming

that the government’s actions would “virtually destroy” the Native Americans’ “ability to

practice their religion . . . the Constitution simply does not provide a principle that could justify

upholding [their] legal claims.” 485 U.S. at 451-52 (emphasis added).

       “Whatever may be the exact line between unconstitutional prohibitions on the free
       exercise of religion and the legitimate conduct by government of its own affairs,
       the location of the line cannot depend on measuring the effects of a
       governmental action on a religious objector’s spiritual development,’ even
       where the effect on religious practice is ‘extremely grave.”

Standing Rock, 239 F.Supp.3d at 92 (quoting Lyng, 485 U.S. at 451) (emphasis added).

“Though Native Americans may have some rights to use sacred sites, ‘those rights do not divest

the Government of its right to use what is, after all, its land.’” La Cuna II, 2013 WL 4500572, at

*10 (quoting Lyng, 485 U.S. at 453).

       Contrary to plaintiffs’ claims, the Supreme Court’s decision in Lyng still controls. As the

Ninth Circuit observed in Navajo Nation, “[t]hat Lyng was a Free Exercise Clause, not RFRA,

challenge is of no material consequence.” 535 F.3d at 1071 n.13. “Congress expressly

instructed the courts to look to pre-Smith Free Exercise Clause cases, which include Lyng, to

interpret RFRA.” Id.; see also Oklevueha Native Am. Church of Hawaii, Inc. v. Lynch, 828 F.3d

1012, 1016 (9th Cir. 2016) (reiterating that the meaning of the term “substantial burden” under

the RFRA is defined by pre-Smith Supreme-Court case law). Legislative history further




11 – FINDINGS AND RECOMMENDATIONS
        Case 3:08-cv-01169-YY         Document 300        Filed 03/02/18     Page 12 of 22




confirms that by enacting the RFRA, Congress did not intend to diminish the Supreme Court’s

holding in Lyng.4

        Moreover, as the Ninth Circuit recently explained, a substantial burden does not exist

where there is a “substitute” that is “capable of serving the exact same religious function.”

Oklevueha, 828 F.3d at 1017. In Oklevueha, the plaintiffs practiced “peyotism” but considered

cannabis, “in addition to peyote, to be sacred or most holy,” and consumed it as a substitute for

peyote. Id. at 1014, 1016. They sought declaratory and injunctive relief under the RFRA to

prevent the government from prosecuting them under the Controlled Substances Act, 21 U.S.C.

§§ 801–971. In rejecting their claim, the Ninth Circuit noted that “nothing in the record

demonstrates that a prohibition on cannabis forces [the plaintiffs] to choose between obedience

to their religion and criminal sanction, such that they are being ‘coerced to act contrary to their

religious beliefs.’” Id. at 1016 (quoting Navajo Nation, 535 F.3d at 1070). The plaintiffs made

“no claim that peyote is unavailable or that cannabis serves a unique religious function.” Id. at

1016. Their “failure to demonstrate that the prohibition on cannabis puts them to such a choice

is fatal to their claim.” Id.

        Here, as federal defendants contend, “the A.J. Dwyer Scenic Area is not the only area in

which [plaintiffs] can practice their religion. Indeed, the entire Willamette Valley, as well as all



4
  As Senator Orin Hatch explained, the RFRA
         does not effect [sic] Lyng . . . , a case concerning the use and management of
         government resources, because, like Bowen v. Roy, the incidental impact on a
         religious practice does not “burden” anyone’s free exercise of religion. In Lyng,
         the court ruled that the way in which government manages its affairs and uses its
         own property does not impose a burden on religious exercise. Unless a burden is
         demonstrated, there can be no free exercise violation.
139 Cong. Rec. S14461, at S14470 (daily ed. Oct. 27, 1993) (statement of Sen. Hatch); see also
id. (statement of Sen. Daniel Inouye) (RFRA will not address “the circumstance in which
Government action on public and Indian lands directly infringes upon the free exercise of a
native American religion.”).


12 – FINDINGS AND RECOMMENDATIONS
       Case 3:08-cv-01169-YY          Document 300        Filed 03/02/18     Page 13 of 22




of Mount Hood, is sacred to Plaintiffs, and they practice their religion at dozens of other sites.”

Def. Mot. Partial Summ. J. 19 n.7, ECF #287. But most importantly, as explained above, there is

no evidence that plaintiffs have been “coerced to act contrary to their religious beliefs by the

threat of civil or criminal sanctions.” Navajo Nation, 535 F.3d at 1070. They face no “forced

choice” or “Catch–22.” They are still able to access the site,5 and there is no evidence that they

will be cited for trespass or suffer any government-imposed penalty for doing so.6 Thus, while

plaintiffs may raise important questions whether the decisions regarding the site were culturally

sensitive or the least destructive choice among various options, those factors do not establish a

substantial burden under the RFRA.

       Plaintiffs’ reliance on Burwell v. Hobby Lobby, 134 S. Ct. 2751 (2015), is also misplaced.

The Supreme Court’s decision in Hobby Lobby does not change the analysis here. The central

issue presented in Hobby Lobby was whether a corporation was a “person” under the RFRA and

whether a for-profit corporation could practice religion. Id. at 2768-69. After holding federal

5
  In their complaint, plaintiffs admit that the site is accessible through East Wemme Trail Road.
Fourth Am. Compl. ¶ 25, ECF #223. East Wemme Trail Road is a graveled one-lane road that is
8-12 feet wide and runs in an east-west direction, forming a crescent shape in relation to U.S. 26.
ECF #292-11, at 148-49; see also Reply 15, ECF #295 (depicting aerial photo of East Wemme
Trail Road). It served as a motor road for early automobilists who traveled to Mt. Hood for
recreation opportunities. Id. at 149.
        In his deposition, plaintiff Chief Wilbur Slockish testified that he visited the site when a
promotional video was filmed. Dep. Chief Wilbur Slockish 54:21-25, 55:1-12, ECF #287-4; see
also Def. Mot. Partial Summ. J. 18 n.6, ECF #287 (containing link to video). Federal
defendants’ reply contains a still photograph from that video, depicting plaintiff Chief Johnny
Jackson at the site. Reply 15, ECF #295.
        Michael Jones testified at his deposition that he accessed the site in 2015 and 2016 by
driving down East Wemme Trail Road. Dep. Michael Jones 92:2-21, ECF #287-7, at 24. There
is a barricade at the end of East Wemme Trail Road where it dead-ends. Jones testified that,
although it is “difficult,” “you go around that.” Id. 120:5-7, ECF #287-7, at 31. In sum, it is
clear from the deposition testimony and other evidence that the site can be accessed.
6
 In fact, it is the official policy of BLM to “accommodate access to and ceremonial use of Indian
sacred sites by Indian religious practitioners” on public lands. See 61 Fed. Reg. 26771 (May 24,
1996).


13 – FINDINGS AND RECOMMENDATIONS
       Case 3:08-cv-01169-YY          Document 300        Filed 03/02/18     Page 14 of 22




restrictions on “activities of a for-profit closely held corporation must comply with RFRA,” the

Supreme Court applied the same analysis used in Navajo Nation. Id. at 2775. Because the

contraceptive mandate at issue in that case “force[d]” the corporation to pay as much as $475

million per year in penalties if it failed to comply, it imposed a substantial burden on the

corporation’s beliefs. Id. at 2779.

       Plaintiffs contend that, in Hobby Lobby, the Supreme Court faulted the government for

making the same “absurd” argument that federal defendants make here—“namely, that ‘RFRA

merely restored this Court’s pre-Smith decisions’ and therefore ‘did not allow a plaintiff to raise

a RFRA claim’ unless it was the same sort of claim ‘that this Court entertained in the years

before Smith.’” Pl. Resp. 37-38, ECF #292 (quoting Hobby Lobby, 134 S. Ct. at 2773).

Plaintiffs, however, take the language of the opinion out of context. The Supreme Court used

this language in deciding whether a for-profit corporation fell within the category of “persons”

protected by the RFRA. 134 S. Ct. at 2773. As federal defendants accurately contend, there is

nothing in the Hobby Lobby opinion that eviscerated the RFRA’s requirement of government

coercion or compulsion.

       Plaintiffs cite other cases, but they likewise do not support their claim that some test other

than the coercion/compulsion standard should apply. Most of the cases plaintiffs cite involve

claims made under the Religious Land Use and Institutionalized Persons Act (“RLUIPA”), 42

U.S.C. §§ 2000cc–2000cc-5., not the RFRA.7 Because this is not a prisoner case, the RLUIPA




7
 See, e.g., Greene v. Solano Cty. Jail, 513 F.3d 982, 988 (9th Cir. 2008); Yellowbear v. Lampert,
741 F.3d 48, 51-52 (10th Cir. 2014); Haight v. Thompson, 763 F.3d 554 (6th Cir. 2014). Pl.
Resp. 34-35, ECF #292.



14 – FINDINGS AND RECOMMENDATIONS
       Case 3:08-cv-01169-YY          Document 300        Filed 03/02/18      Page 15 of 22




does not apply and those cases are therefore inapplicable.8 The holdings in those cases

nevertheless do not change the outcome in this case.

       Under the RLUIPA, “[n]o government shall impose a substantial burden on the religious

exercise of a person residing in or confined to an institution[.]” 42 U.S.C. § 2000cc–1(a). The

“RLUIPA . . . protects institutionalized persons who are unable freely to attend to their religious

needs and are therefore dependent on the government’s permission and accommodation for

exercise of their religion.” Cutter v. Wilkinson, 544 U.S. 709, 721 (2005).

       In Warsoldier v. Woodford, 418 F.3d 989 (9th Cir. 2005), the Ninth Circuit explained that

a substantial burden exists for purposes of the RLUIPA where a prison policy “intentionally puts

significant pressure on inmates . . . to abandon their religious beliefs” or “denies [an important

benefit] because of conduct mandated by religious belief.” Id. at 995-96 (citation omitted)

(brackets in original). The court found that the plaintiff established a substantial burden where

he was subjected to multiple “punishments”—including being confined to his cell, forced to

work more hours, and expelled from classes—for refusing to comply with the prison’s hair

grooming policy due to his religious beliefs. Id. at 995-96.

       Recently, in Holt v. Hobbs, 135 S. Ct. 853 (2015), the Supreme Court clarified that the

RLUIPA allows prisoners “to seek religious accommodations pursuant to the same standard as

set forth in RFRA.” Id. at 860. The Court concluded that a corrections department’s grooming

policy requiring the petitioner to shave his beard against his religious beliefs or “face serious

disciplinary action” constituted a substantial burden. Id. at 862.




8
 In Navajo Nation, the plaintiffs also cited cases decided under the RLUIPA, which the Ninth
Circuit likewise found were inapplicable. 535 F.3d at 1077.


15 – FINDINGS AND RECOMMENDATIONS
       Case 3:08-cv-01169-YY          Document 300        Filed 03/02/18      Page 16 of 22




       As discussed at length above, plaintiffs have failed to establish the type of coercion

illustrated in Holt or Warsoldier. Thus, even if the analysis in these RLUIPA cases applied, the

outcome would be the same.

       Moreover, prisoner cases under the RLUIPA are otherwise distinguishable from the type

at hand for the reasons wisely articulated by the court in Standing Rock:

       The RLUIPA cases on which the Tribe relies, furthermore, offer little succor. Not
       only have inmates suffered a total loss of liberty, whereas the Tribe’s members
       have not, but the cases cited involved either a specific prohibition on a particular
       form of religious exercise or the imposition of a sanction or other collateral, non-
       religious harm in response to religious exercise. . . . Here, although the Tribe's
       members may feel unable to use the water from Lake Oahe in their religious
       ceremonies once the pipeline is operational, there is no specific ban on their
       religious exercise, nor does performance of their sacraments trigger a sanction,
       loss of a government benefit, or other collateral harm. If a Jewish prisoner is
       denied kosher meals and adheres to his belief that he cannot consume non-kosher
       food, he will starve. If a Muslim prisoner forbidden from growing a beard
       nonetheless grows one, he will be punished. But if the Tribe persists in its belief
       that DAPL will render the waters of Lake Oahe spiritually impure, it suffers no
       collateral consequence. In so stating, the Court does not diminish the significance
       of such a loss; indeed, inability to engage in religious conduct may cause deep
       personal and communal harm. The point is simply that the prisoner cases to which
       Cheyenne River draws a comparison involve an additional harm beyond the
       spiritual that is not present here.

239 F.Supp.3d at 95-96. Therefore, this court should not look to the RLUIPA cases cited by

plaintiffs in deciding this question, but instead to Lyng and Navajo Nation. Applying the holding

in those cases, plaintiffs have failed to establish a prima facie showing that they were

substantially burdened. Accordingly, federal defendants’ motion for summary judgment against

plaintiffs’ Thirteenth Claim under the RFRA should be granted.

II.    Standing

       Federal defendants assert that, because plaintiffs have failed to establish that their right to

exercise religion under the RFRA has been “substantially burdened,” they lack standing. Def.

Mot. Partial Summ. J. 26, ECF #287.



16 – FINDINGS AND RECOMMENDATIONS
       Case 3:08-cv-01169-YY           Document 300          Filed 03/02/18   Page 17 of 22




        Federal courts are courts of limited jurisdiction. “Article III of the Constitution confines

the judicial power of federal courts to deciding actual ‘Cases’ or ‘Controversies.’”

Hollingsworth v. Perry, 133 S. Ct. 2652, 2661 (2013) (quoting U.S. Const. art. III, § 2). An

“essential element” of the limitations on this court’s jurisdiction is that “any person invoking the

power of a federal court must demonstrate standing to do so.” Hollingsworth, 133 S. Ct. at 2661

(citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)). The “irreducible

constitutional minimum of standing” requires the party invoking federal jurisdiction to establish

three elements:

        First, the plaintiff must have suffered an injury in fact—an invasion of a legally
        protected interest which is (a) concrete and particularized, and (b) actual or
        imminent, not conjectural or hypothetical. Second, there must be a causal
        connection between the injury and the conduct complained of—the injury has to
        be fairly traceable to the challenged action of the defendant, and not the result of
        the independent action of some third party not before the court. Third, it must be
        likely, as opposed to merely speculative, that the injury will be redressed by a
        favorable decision.

Lujan, 504 U.S. at 560-61 (1992) (internal citations, ellipses, and quotation marks omitted).

These are “not mere pleading requirements but rather an indispensable part of the plaintiff’s case

[and] each element must be supported in the same way as any other matter on which the plaintiff

bears the burden of proof, i.e., with the manner and degree of evidence required at the successive

stages of the litigation.” Id. at 561 (citations omitted).

        Here, by failing to establish a prima facie case under the RFRA, plaintiffs have failed to

establish that they have suffered an injury in fact. Thus, they lack standing on the RFRA claim,

and it should be dismissed.

///

///

///



17 – FINDINGS AND RECOMMENDATIONS
       Case 3:08-cv-01169-YY          Document 300        Filed 03/02/18     Page 18 of 22




III.   Law of the Case

       Plaintiffs contend that federal defendant’s motion for summary judgment is foreclosed

because of this court’s prior rulings, which they contend are law of the case. That contention

should be rejected for the reasons discussed below.

       A.      Doctrine of Law of the Case

       “The law of the case doctrine is a judicial invention designed to aid in the efficient

operation of court affairs.” Milgard Tempering, Inc. v. Selas Corp. of Am., 902 F.2d 703, 715

(9th Cir. 1990) (citing Lockert v. U.S. Dept. of Labor, 867 F.2d 513, 518 (9th Cir. 1989). “Under

the doctrine, a court is generally precluded from reconsidering an issue previously decided by the

same court[.]” Id. The doctrine “concerns courts’ general practice of refusing to reopen

questions previously decided in the same case.” Rent-A-Ctr., Inc. v. Canyon Television &

Appliance Rental, Inc., 944 F.2d 597, 601 (9th Cir. 1991). For the doctrine to apply, the issue in

question must have been “decided explicitly or by necessary implication in [the] previous

disposition.” Milgard, 902 F.2d at 715.

       However, the doctrine “is not a limitation on [the courts’] power.” Rent-A-Ctr., 944 F.2d

at 602. It is an “equitable doctrine that should not be applied if it would be unfair.” Id.

Application of the doctrine is discretionary. Milgard, 902 F.2d at 715. A court properly

exercises its discretion where (1) the first decision was clearly erroneous and would result in

manifest injustice; (2) an intervening change in the law has occurred; or (3) the evidence on

remand was substantially different. Milgard, 902 F.2d at 715 (citing Eichman, 880 F.2d at 157).

       B.      The Court’s Prior Rulings and Analysis

       In a February 7, 2012 order denying federal defendants’ Motion for Judgment on the

Pleadings (ECF #104), the court ruled as follows:




18 – FINDINGS AND RECOMMENDATIONS
       Case 3:08-cv-01169-YY          Document 300        Filed 03/02/18      Page 19 of 22




               The Magistrate Judge distinguishes Lyng by pointing out that construction
       of the guardrail on Highway 26 prevents Plaintiffs from having any access to their
       religious site, and, in addition, religious artifacts at the site were destroyed. The
       Magistrate Judge concludes disputed fact exist as to whether Plaintiffs “may be
       forced to act contrary to their religious beliefs . . .[w]ithout the artifacts and free
       access to the site.”
               After reviewing the record de novo, the Court agrees with the Magistrate
       Judge and concludes there are disputes of fact that preclude the entry of summary
       judgment as to Plaintiffs’ 13th Claim based on Plaintiffs’ free exercise of religion
       under the First Amendment.

Opinion and Order (February 7, 2012), ECF #131, at 9-10.

       The court’s prior order pertained to a motion for judgment on the pleadings, where no

evidence was presented and the court was permitted to consider only the allegations in the

complaint. Lyon v. Chase Bank USA, N.A., 656 F.3d 877, 883 (9th Cir. 2011) (“A judgment on

the pleadings is properly granted when, taking all the allegations in the pleadings as true, [a]

party is entitled to judgment as a matter of law.”) By contrast, the present motion before the

court is one for summary judgment, and the proffered facts are “substantially different” from

when the court issued its prior order in 2012. Milgard, 902 F.2d at 715. There is now evidence

that plaintiffs have access to the site and do not suffer the threat of trespass9 they argued existed




9
 In her Findings and Recommendations, Judge Stewart noted that plaintiffs claimed they would
be subject to a trespass action if they attempted to access the site:
                Here, in contrast, plaintiffs allege that they cannot freely access the site
       because of a newly constructed guardrail and destruction of the artifacts
       themselves. [Second Am. Compl.], ¶ 50. In addition, plaintiffs also argue (but do
       not allege) that they would suffer criminal trespass should they attempt to access
       the site. Based solely on plaintiffs’ allegations which are assumed to be true, this
       court cannot conclude as a matter of law that the Project has not substantially
       burdened plaintiffs’ free exercise of religion. Without the artifacts and free access
       to the site, plaintiffs may be forced to act contrary to their religious beliefs. In
       addition, this court cannot ascertain whether the Federal Defendants took the least
       restrictive means for implementing the Project and whether they followed all
       appropriate procedures. As previously noted, fact issues also exist as to whether
       plaintiffs received procedural due process. Due to these fact issues that must be
       resolved in order to determine if the burden on plaintiffs’ exercise of their religion


19 – FINDINGS AND RECOMMENDATIONS
        Case 3:08-cv-01169-YY          Document 300         Filed 03/02/18      Page 20 of 22




when the court’s previous order was issued. There are no longer those “disputes of fact” that the

court was concerned with in 2012—the uncontroverted evidence is that BLM allows plaintiffs

access to the site and that some of the plaintiffs have in fact visited the site.

        Additionally, to the extent the court previously held that denial of access to land

constitutes a substantial burden under the RFRA, that ruling is clearly erroneous. “Under Navajo

Nation, . . . denial of access to land, without a showing of coercion to act contrary to religious

belief, does not give rise to a RFRA claim, regardless of how that denial of access is

accomplished. . . .” La Cuna II, 2013 WL 4500572, at *9 (finding no substantial burden where

eight-foot-high fence prevented tribe from accessing sacred site). “Whatever rights the [Native

Americans] may have to the use of the area, . . . those rights do not divest the Government of its

right to use what is, after all, its land.” Lyng, 485 U.S. at 454 (emphasis in original).

        With the trespass and access issues resolved, the only remaining basis for the court’s

prior ruling is the destruction of artifacts. However, as discussed above, destruction of a sacred

site is not enough to constitute a “substantial burden.” Even where the government’s actions

would “virtually destroy” a group’s “ability to practice their religion . . . the Constitution simply

does not provide a principle that could justify upholding [their] legal claims.” Lyng, 485 U.S. at

451-52; see also Navajo Nation, 535 F.3d at 1070 (holding desecration of spiritual mountain

with sewage effluent containing fecal coliform bacteria did not impose a substantial burden).

“[T]he diminishment of spiritual fulfillment—serious though it may be—is not a ‘substantial

burden’ on the free exercise of religion.” Id. at 1070. A recent case decided by the Ninth Circuit

in 2013—after the court issued its previous order—cements this conclusion. In Oklevueha, the



       is substantial, the Federal Defendants’ motion to dismiss the Thirteenth Claim
       should be denied.
Findings and Recommendations (Sept. 21, 2011) 17, ECF #122.


20 – FINDINGS AND RECOMMENDATIONS
       Case 3:08-cv-01169-YY          Document 300        Filed 03/02/18     Page 21 of 22




court made clear that a substantial burden does not exist where there is a “substitute” that is

“capable of serving the exact same religious function.” 828 F.3d at 1017. Here, plaintiffs

concede that the site at issue “is part of a complex of sacred, interrelated and interconnected sites

in the Mount Hood area.”10 Fourth Am. Compl. ¶ 13, ECF #223. The court in La Cuna II

considered a similar scenario and concluded there was no substantial burden: “[S]ad as it may be

that access to some parts of the Salt Song Trails will be impaired, Plaintiffs face no civil or

criminal sanction for practicing their religion—the choice to use those parts of the Salt Song

trails is simply not available to them.” The same result is compelled in this case.

       For these reasons, the court should decline to apply the law of the case doctrine and find,

as discussed above, the plaintiffs have failed to establish a prima face case under the RFRA.

IV.    Laches

       Federal defendants argue that plaintiffs are alternatively barred from asserting this claim

under the doctrine of laches. It is unnecessary to reach this issue because plaintiffs’ claim is

foreclosed by their failure to establish a prima facie case under the RFRA, as discussed above.

///

///

///



10
  Plaintiffs’ complaint alleges:
       In addition to Mount Hood itself, these other sites include, but are not limited to,
       Enola Hill, Owl Mountain, Zig Zag Mountain, Hunchback Mountain,
       Huckleberry Mountain, Salmon River Butte, North Mountain, Crutcher’s Bench,
       Flag Mountain, Big Laurel Hill, Buzzard’s Butte, Wolfe Butte, Devil’s Peak,
       Devil’s Backbone, Bear Creek, Indian Meadow, Cedar Ridge, Alderwood, the
       Meadows (Rhododendron Meadow and the Big Island), the Big Deadening,
       Devils Half Acre, Barlow Pass, Summit Prairie, Red Top Meadow, Salmon River
       Canyon, Alder Mountain, McIntire Mountain, Sandy River Canyon, Veda Butte,
       Plaza Butte, Bull Run, the Wind Mountains, and Tom, Dick, and Harry Mountain.
Fourth Am. Compl. ¶ 13, ECF #223.


21 – FINDINGS AND RECOMMENDATIONS
       Case 3:08-cv-01169-YY         Document 300       Filed 03/02/18      Page 22 of 22




                                   RECOMMENDATIONS

       For the reasons set forth above, federal defendants’ motion for summary judgment

against Claim 13 (ECF #287) should be GRANTED, plaintiff’s cross-motion for summary

judgment (ECF #294) should be DENIED, and plaintiff’s Thirteenth Claim should be dismissed.

                                   SCHEDULING ORDER

       These Findings and Recommendations will be referred to a district judge. Objections, if

any, are due Friday, March 16, 2018. If no objections are filed, then the Findings and

Recommendations will go under advisement on that date.

       If objections are filed, then a response is due within 14 days after being served with a

copy of the objections. When the response is due or filed, whichever date is earlier, the Findings

and Recommendations will go under advisement.

                                            NOTICE

       These Findings and Recommendations are not an order that is immediately appealable to

the Ninth Circuit Court of Appeals. Any Notice of Appeal pursuant to Rule 4(a)(1), Federal

Rules of Appellate Procedure, should not be filed until entry of a judgment.

       DATED this 2nd day of March, 2018.



                                                           /s/ Youlee Yim You
                                                    ________________________________
                                                     Youlee Yim You
                                                     United States Magistrate Judge




22 – FINDINGS AND RECOMMENDATIONS
